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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

ACUITY, A MUTUAL INSURANCE                   )
COMPANY,                                     )
                                             )
       Plaintiff,                            )
                                             )       Case No. 4:24-cv-01277-MTS
v.                                           )
                                             )
LORA PROPERTY INVESTMENTS,                   )
LLC, et al.,                                 )
                                             )
       Defendants.                           )

             CONSENT MOTION FOR ADDITIONAL TIME TO RESPOND

        COMES NOW, Defendant Wombat Acquisitions, LLC and with consent of opposing
counsel, hereby requests an additional thirty (30) days in which to file its responsive pleading
pursuant to Rule 6(b) of the Federal Rules of Civil Procedure. Plaintiff’s counsel consents to this
Motion which is brought in good faith and not for purposes of delay or hindrance and no party
will be prejudiced by same.


                                                            OTT LAW FIRM

                                                            /s/ Mark Edward Blankenship Jr.
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                                                            Mark E. Blankenship Jr., #73123
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the foregoing was
served on all parties of record by operation of the Court’s electronic case filing and case
management system on this 17th day of October 2024.

                                                       /s/ Mark Edward Blankenship Jr.




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